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 1       DANIEL BRODERICK, Bar #89424
         Federal Defender
 2       Lexi Negin, D.C. Bar #446153
         Assistant Federal Defender
 3       801 I Street, 3rd. Floor
         Sacramento, California 95814
 4       Telephone: (916) 498-5700
 5       Attorney for Defendant
         DONNA LAVETTA WILSON
 6
 7                                   IN THE UNITED STATES DISTRICT COURT
 8                                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
         UNITED STATES OF AMERICA,                     )   CASE NO. CR-S-06-450 (LKK)
10                                                     )
                              Plaintiff,               )
11                                                     )   STIPULATION AND ORDER TO CONTINUE
               v.                                      )   STATUS HEARING
12                                                     )
         DIALLO SIMS                                   )
13                                                     )
         DONNA LAVETTA WILSON,                         )
14                                                     )
                           Defendants.                 )
15       _______________________________
16            This case is currently scheduled for a sentencing on November 6, 2007. The attorneys for all
17   parties have conferred and agree that additional time is needed for preparation of sentencing and agree to
18   continue the sentencing hearing to November 27, 2007 at 9:30 a.m. The parties agree that any formal
19   objections and sentencing memoranda be due on November 20, 2007.
20            A proposed order is attached and lodged separately for the court's convenience.
21
     DATED:November 9, 2007
22
     /
23   /
     /
24   /
     /
25   /
     /
26   /
     /
27   /
28                                                         1
               Case 2:06-cr-00450-MCE Document 55 Filed 11/09/07 Page 2 of 3


 1                        Respectfully submitted,
 2   McGREGOR W. SCOTT                              DANIEL BRODERICK
     United States Attorney                         Federal Defender
 3
 4
     /s/Lexi Negin for Dale Kitching                /s/ Lexi Negin
 5   DALE KITCHING                                  LEXI NEGIN
     Special Assistant U.S. Attorney                Assistant Federal Defender
 6   Attorney for United States                     Attorney for Donna Wilson
 7
 8
     /s/ Lexi Negin for Hayes Gable
 9   HAYES GABLE
     Attorney for Diallo Sims
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 1
 2                                IN THE UNITED STATES DISTRICT COURT
 3                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-06-450 (LKK)
 5                                                   )
                           Plaintiff,                )
 6                                                   )   ORDER CONTINUING SENTENCING
            v.                                       )   HEARING
 7                                                   )
     DIALLO SIMS                                     )
 8                                                   )
     DONNA LAVETTA WILSON,                           )
 9                                                   )
                       Defendants.
10   _______________________________
11
            For the reasons set forth in the stipulation of the parties, filed on November 9, 2007, IT IS
12
     HEREBY ORDERED that the sentencing hearing currently scheduled for November 6, 2007, be continued
13
     until November 27, 2007, at 9:30 a.m..
14
            IT IS FURTHER, ORDERED, that any formal objections to the Presentence Investigation Report,
15
     and sentencing memoranda are due on November 20, 2007.
16
17
     Dated: November 8, 2007
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